Case 2:22-cr-00001-HYJ-MV ECF No. 231, PageID.517 Filed 05/24/22 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,
                                                      Case No. 2:22-cr-1-09
v.
                                                      Hon. Hala Y. Jarbou
ALLYSON MARIE DENOMIE,

      Defendant.
____________________________/

                 ORDER ADOPTING REPORT AND RECOMMENDATION

        On May 9, 2022, Magistrate Judge Maarten Vermaat issued a Report and Recommendation

(R&R) recommending that the guilty plea of Defendant Allyson Marie Denomie as to Count 10 of

the Indictment be accepted. The R&R was duly served on the parties. No objections have been

filed and the deadline for doing so expired on May 23, 2022. Based on this, and on the Court’s

review of all matters of record, including the audio transcript of the plea proceedings,

        IT IS ORDERED that the R&R (ECF No. 228) is APPROVED and ADOPTED as the

opinion of the Court. Defendant's plea of guilty is accepted and Defendant is adjudicated guilty

of the charges set forth in Count 10 of the Indictment. The written plea agreement (ECF No. 199)

is continued under advisement pending sentencing.

        IT IS FURTHER ORDERED that Defendant shall remain detained pending sentencing,

now scheduled for October 6, 2022, before District Judge Hala Y. Jarbou at the federal courthouse

in Marquette, Michigan.


Date:     May 24, 2022                                 /s/ Hala Y. Jarbou
                                                      HALA Y. JARBOU
                                                      UNITED STATES DISTRICT JUDGE
